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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Eiser Infrastructure Limited and Energia Solar
Luxembourg S.A.R.L.,

                       Petitioners,
                                                     Civil Action No. 1:18-cv-01686-CKK
       v.

Kingdom of Spain,

                       Respondent.


                                       Joint Status Report

       Pursuant to the Court’s minute order dated June 29, 2020, Petitioners Eiser Infrastructure

Limited and Energia Solar Luxembourg S.A.R.L. (“Eiser”) and Respondent the Kingdom of

Spain (“Spain”) (together, the “Parties”) notify the Court of the following developments.

       On June 15, 2020, the Parties filed a joint status report notifying the Court that the ad hoc

committee constituted by the International Center for the Settlement of Investment Disputes

(“ICSID”) had issued a decision granting Spain’s application for annulment. Since filing the

joint status report, Eiser has determined that it may seek relief from the ad hoc committee’s

decision on annulment under Article 49(2) of the ICSID Convention by July 26, 2020.

       Eiser’s position is that relief granted by the ad hoc committee under ICSID Article 49(2)

could result in the reinstatement of the arbitration Award in part or in full. Accordingly,

dismissal at this point would be premature and the Court should postpone entry of judgment until

the ad hoc committee decides on Eiser’s request. Eiser proposes that the Parties file a joint status

report within 3 days of the ad hoc committee’s decision on Eiser’s application. If Eiser does not

apply for relief from the ad hoc committee’s decision, the Parties can file a joint stipulation

before the Court by July 27, 2020.


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       Spain’s position remains that this case should be dismissed with prejudice. While Eiser

states that it is contemplating an application under Article 49(2) of the ICSID Convention, such

an application could only seek clarification of certain omissions and clerical errors. It does not

provide a basis for appealing or overturning the ad hoc committee’s decision annulling the award

in its entirety or otherwise reinstating the award that Eiser sought to enforce in this proceeding.

As Eiser and this Court have previously recognized, the ad hoc committee’s decision annulling

the award in its entirety is “final and non-appealable” and moots this case. See ECF No. 52; see

also ECF No. 51. The award that Eiser sought to confirm in this action no longer exists and

there is nothing left to enforce. Thus, there is no grounds for delaying the inevitable dismissal of

this case with prejudice.




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Dated: July 10, 2020                         Respectfully submitted,


EISER INFRASTRUCTURE LIMITED                 KINGDOM OF SPAIN
AND ENERGIA SOLAR
LUXEMBOURG S.A.R.L.

By its attorneys,                            By its attorneys,

/s/ Stuart F. Delery                         /s/ Joseph D. Pizzurro

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on July 10, 2020, I caused the foregoing Joint Status Report to be

filed with the Clerk for the U.S. District Court for the District of Columbia through the ECF

system. Participants in the case who are registered ECF users will be served through the ECF

system, as identified by the Notice of Electronic Filing.

                                                     /s/ Stuart F. Delery
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